                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


MARTIN ARNOLD RILEY,                                )
                                                    )
              Plaintiff,                            )
                                                    )
v.                                                  )      Case. No. 22-3185-JWL-JPO
                                                    )
(FNU) SKIDMORE, et al.,                             )
                                                    )
              Defendants.                           )
                                                    )

                  NOTICE OF WITHDRAWAL OF COUNSEL AND
               ENTRY OF APPEARANCE OF SUBSTITUTED COUNSEL
       Pursuant to D. Kan. Rule 83.5.5(c), Matthew L. Shoger, Assistant Attorney General,

hereby enters his appearance as substituted counsel for Defendants (FNU) Hopkins, (FNU) East,

(FNU) Brown, (FNU) Rasmussen, (FNU) Potter. Dennis D. Depew, Deputy Attorney General,

hereby withdraws his appearance as counsel of record for Defendants.

       This notice is being served as required by D. Kan. Rule 83.5.5(c).

                                            Respectfully submitted,

                                            OFFICE OF ATTORNEY GENERAL
                                            DEREK SCHMIDT

                                            /s/ Matthew L. Shoger
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                                CERTIFICATE OF SERVICE

I hereby certify that on this 4th day of November, 2022, the foregoing document was filed with the
clerk of the court by using the CM/ECF system, which will send notice of electronic filing to the
following:

       Natasha M. Carter
       Kansas Department of Corrections
       714 SW Jackson Street, Suite 300
       Topeka, KS 66603
       natasha.carter@ks.gov
       Attorney for Kansas Department of Corrections, Interested Party

I also certify that a copy of the above was served by means of first-class mail, postage prepaid,
addressed to:

       Martin Arnold Riley, #52926
       EL DORADO Correctional Facility-Central
       PO Box 311
       El Dorado, KS 67042
       Plaintiff, pro se

                                             /s/ Matthew L. Shoger
                                             Matthew L. Shoger
                                             Assistant Attorney General




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